                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JEFFREY CLAYTON KANDIES,            )
                                    )
          Petitioner,               )
                                    )
    v.                              )        1:99CV764
                                    )
CARLTON JOYNER,                     )
Warden, Central Prison              )
Raleigh, North Carolina,            )
                                    )
          Respondent.               )


                                 ORDER

    Petitioner Jeffrey Clayton Kandies, a prisoner of the State

of North Carolina, has filed a Motion to Stay and for Abeyance

of Federal Proceedings (Doc. 153) relating to his formerly filed

Rule 59 Motion to Alter or Amend Judgment (Doc. 147).

Petitioner seeks a stay pending the United States Supreme

Court’s review of Foster v. Humphrey, ____ U.S. ____, 135 S. Ct.

2349 (2015).     Because Petitioner has failed to show that he is

entitled to relief, the court denies the motion to stay.

                                   I.

    This court recounted the lengthy procedural history of this

case in more detail in its Order dated November 6, 2014.

Briefly, in 1994 Petitioner was convicted of and sentenced to

death for the rape and murder of Natalie Lynn Osborne, the four-

year-old daughter of his fiancée.       After his direct appeal and




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state post-conviction efforts failed, he filed a petition for a

writ of habeas corpus in this court on October 7, 1999.         The

United States Court of Appeals for the Fourth Circuit affirmed

this court’s original order denying the petition on

September 24, 2004, but the United States Supreme Court granted

certiorari and remanded the case to the Fourth Circuit for

reconsideration in light of Miller-El v. Dretke, 545 U.S. 231

(2005) (“Miller-El II”).     See Kandies v. Polk, 545 U.S. 1137

(2005).   With the case remanded to this court for consideration

of Petitioner’s claims pursuant to Batson v. Kentucky, 476 U.S.

79 (1986), in light of Miller-El II, and without the benefit of

the Supreme Court’s ruling in Cullen v. Pinholster, 563 U.S. 170

(2011), the court allowed limited discovery regarding jury

selection at Petitioner’s trial. After reviewing the new

evidence introduced by Petitioner, the Magistrate Judge

recommended denial of the petition. (See Mem. Op. &

Recommendation (Doc. 124).) Bound by the rule announced in

Pinholster that, in considering a claim rejected on the merits

by a state court, a federal habeas court may only consider the

evidence included in the state court record, this court adopted

the Magistrate Judge’s recommendation in part and denied the

petition. (See Order (Doc. 147); Judgment (Doc. 148).)


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    On June 17, 2015, Petitioner filed the present motion to

stay and abey.   (Mot. to Stay (Doc. 153).) In his motion,

Petitioner claims that this court would benefit from the United

States Supreme Court’s consideration of Foster v. Humphrey,

scheduled for oral argument in November 2015.        (Id. at 4.)

Petitioner claims that the Supreme Court will likely present a

clearer analysis of what is required in the third stage of the

Batson analysis, the proving of purposeful discrimination by a

prosecuting attorney during jury selection. (Id.) Petitioner

argues that the Court’s potential ruling will have a direct

impact on the manner in which this court will review his motion

to alter or amend its judgment. (Id.)

                                  II.

    A determination of whether to stay a habeas case rests in

the district court's sound discretion.       Rhines v. Weber, 544

U.S. 269, 276 (2005) (addressing “mixed petitions” in which

exhausted and unexhausted petition claims are presented to

the habeas court).    However, the discretion should be

judiciously exercised because granting the motion would conflict

with one of the underlying purposes of the Antiterrorism and

Effective Death Penalty Act of 1996 (“AEDPA”), which is to

“reduce delays in the execution of state and federal criminal

sentences, particularly in capital cases.”       Woodford v. Garceau,
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538 U.S. 202, 206 (2003).      Likely for this reason, the Supreme

Court also held that stays “should be available only in limited

circumstances.”   Rhines, 544 U.S. at 277.

    Petitioner has not shown good cause for this court to

exercise its discretion to stay consideration of his Rule 59

motion until the Supreme Court rules in Foster.        It is unlikely

that any analysis in Foster will apply to Petitioner’s case

because the facts in Foster are wholly distinguishable from the

facts in Petitioner’s case; Foster’s case is in a different

procedural posture than Petitioner’s; and the Supreme Court

therefore is highly unlikely to make any new decisional law in

Foster explicitly retroactive to cases on federal habeas review.

    Petitioner argues that the outcome of Foster’s case “will

likely have some bearing on [his] Batson claim,” (Mot. to Stay

(Doc. 153) at 4), but, as he points out, the question presented

in Foster relies on the “extraordinary circumstances” of

Foster’s particular case.     Brief of Petitioner at *i, Foster v.

Chatman, ____ U.S. ____, 135 S. Ct. 2349 (2015) (No 14-8349)




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2015 WL 4550211.1   Although the cases share a Batson claim, the

facts supporting the claims of Petitioner and Foster are easily

distinguishable.    In Foster, a case from 1986, the prosecution,

trying a case with a black defendant and a white victim, struck

all prospective black jurors from the jury pool. Id.         The

prosecution’s jury selection notes revealed that the prosecutor

identified all black prospective jurors with a “B” next to their

names and highlighted each of them in green on four copies of

the venire list.    Id. at *14.    If a juror self-identified as

black on the jury questionnaire, the prosecutor circled that

fact and did not circle the race of any of the other prospective

jurors.   Id. at *16.   The prosecutor also ranked prospective

black jurors on a strike list as “B#1,” “B#2,” et cetera, and

put all of them as the first names in a “Definite NOs” list.


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      In the Georgia Supreme Court, this case was referred
     to as Timothy Tyrone Foster v. Carl Humphrey, Warden.
     Petitioner Foster referred to the case the same way in
     his petition for certiorari in this Court. In its
     brief in opposition to certiorari, Georgia lists Bruce
     Chatman, Warden, as the respondent because Chatman has
     replaced Carl Humphrey as the warden of the Georgia
     Diagnostic and Classification Prison. See Sup. Ct. R.
     35(3) (providing for substitution of parties in these
     circumstances). Foster does the same in this reply.

Reply to Georgia’s Opp’n to Pet. for Writ of Certiorari at *1
n.1, Foster v. Chatman, 135 S. Ct. 2349 (2015) (No. 14-8349),
2015 WL 2457659.


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Id. at *16-18.    Additionally, in his closing argument, the

prosecutor asked the jury to impose the death penalty to “deter

other people out there in the projects.”       Id. at *11.

    Given the specificity of the facts underlying Foster’s

Batson claim, any decision the Supreme Court makes regarding

that claim will be highly fact-specific.       The facts supporting

Petitioner’s claim are not analogous: the prosecutor did not

strike every potential black juror, and Petitioner has not shown

any evidence that the prosecutor, in preparation for jury

selection, specifically identified black jurors with plans to

strike them.     Petitioner has thus made no showing that the

prosecutor in his case systematically targeted black prospective

jurors for elimination from the jury pool in the way that Foster

alleges was done in his case. And there was no argument in

support of the death penalty allegedly tied to the race of the

defendant, as there was in Foster’s case.       This court has

already rejected Petitioner’s claims under Miller-El II, that

the prosecutor used a disparate questioning technique to prompt

objectionable answers from black jurors and that a comparison of

similarly situated jurors would reveal discriminatory intent.

It is unlikely that a ruling in Foster would lead the court to

reconsider its conclusion that the state post-conviction court


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unreasonably applied Batson when it rejected Petitioner’s

claims, as required for habeas relief under AEDPA.

    Second, while Petitioner seeks relief from a judgment made

under the stringent federal habeas corpus standard of review

promulgated by AEDPA, the Supreme Court is reviewing Foster’s

case on certiorari after state post-conviction proceedings.

Such review is not subject to AEDPA standards.        Furthermore,

Petitioner is seeking an alteration of an order already entered

by this court, which may only alter or amend its judgment “to

accommodate an intervening change in controlling law,” “to

account for new evidence not available at trial,” or “to correct

a clear error of law or prevent manifest injustice.”         Pac. Ins.

Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir.

1998).    Petitioner anticipates that Foster will provide a new

interpretation of Batson favorable to his case, but, given the

procedural posture, it is highly unlikely that the Supreme Court

will make any potential change in the law regarding the third

prong of Batson expressly retroactive to cases on federal habeas

review.   See Tyler v. Cain, 533 U.S. 656, 663 (2001) (holding

that “a new rule is not ‘made retroactive to cases on collateral

review’ unless the Supreme Court holds it to be retroactive”)

(quoting 28 U.S.C. § 2244(b)(2)(A)).      This court sees no reason


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to delay these proceedings in anticipation of a ruling that very

likely will not apply to Petitioner’s case.

                                  III.

    For the foregoing reasons, IT IS ORDERED that Petitioner’s

Motion to Stay and for Abeyance of Federal Proceedings (Doc.

153) is DENIED.

    This the 25th day of September, 2015.




                           _______________________________________
                                 United States District Judge




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